                                                   Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 1 of 7



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                                    10                           UNITED STATES DISTRICT COURT
                                    11                               DISTRICT OF ARIZONA
                                    12
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                                              Steven Patsy                                       Case No: ________________
                                    13
                 Phoenix, Arizona




                                    14                             Plaintiff,                    Complaint For Damages
                                              v.
                                    15                                                           Jury Trial Demanded
                                    16        Assigned Credit Solutions, Inc.

                                    17                             Defendant.
                                    18
                                    19
                                    20                                            INTRODUCTION
                                    21   1.        The United States Congress has found abundant evidence of the use of
                                    22             abusive, deceptive, and unfair debt collection practices by many debt
                                    23             collectors, and has determined that abusive debt collection practices
                                    24             contribute to the number of personal bankruptcies, to marital instability, to the
                                    25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                    26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                    27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                    28             to insure that those debt collectors who refrain from using abusive debt

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                                                                                         - 1 of 7 -
                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 2 of 7



                                     1         collection practices are not competitively disadvantaged, and to promote
                                     2         consistent State action to protect consumers against debt collection abuses.
                                     3   2.    Steven Patsy, (Plaintiff), through Plaintiff's attorneys, brings this action to
                                     4         challenge the actions of Assigned Credit Solutions, Inc., (“Defendant”), with
                                     5         regard to attempts by Defendant to unlawfully and abusively collect a debt
                                     6         allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                     7   3.    Plaintiff makes these allegations on information and belief, with the exception
                                     8         of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                     9         Plaintiff alleges on personal knowledge.
                                    10   4.    While many violations are described below with specificity, this Complaint
                                    11         alleges violations of the statutes cited in their entirety.
                                    12   5.    Unless otherwise stated, all the conduct engaged in by Defendant took place
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                                    13         in Arizona.
                 Phoenix, Arizona




                                    14   6.    Any violations by Defendant were knowing, willful, and intentional, and
                                    15         Defendant did not maintain procedures reasonably adapted to avoid any such
                                    16         violation.
                                    17                                     JURISDICTION AND VENUE
                                    18   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                    19         1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                    20   8.    This action arises out of Defendant's violations of the Fair Debt Collection
                                    21         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                                    22   9.    Because Defendant does business within the State of Arizona, personal
                                    23         jurisdiction is established.
                                    24   10.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                    25   11.   At all times relevant, Defendant conducted business within the State of
                                    26         Arizona.
                                    27
                                    28

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                                                                                         - 2 of 7 -
                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 3 of 7



                                     1                                                 PARTIES
                                     2   12.   Plaintiff is a natural person who resides in the City of Maricopa, State of
                                     3         Arizona.
                                     4   13.   Defendant is located in the City of Cherry Hill, in the State of New Jersey.
                                     5   14.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                     6         as that term is defined by 15 U.S.C. § 1692a(3).
                                     7   15.   Defendant is a person who uses an instrumentality of interstate commerce or
                                     8         the mails in a business the principal purpose of which is the collection of
                                     9         debts, or who regularly collects or attempts to collect, directly or indirectly,
                                    10         debts owed or due or asserted to be owed or due another and is therefore a
                                    11         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                    12                                       FACTUAL ALLEGATIONS
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                                    13   16.   Sometime before January 2011, Plaintiff is alleged to have incurred certain
                 Phoenix, Arizona




                                    14         financial obligations.
                                    15   17.   These financial obligations were primarily for personal, family or household
                                    16         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                    17         §1692a(5).
                                    18   18.   Sometime thereafter, but before January 2011, Plaintiff allegedly fell behind
                                    19         in the payments allegedly owed on the alleged debt. Plaintiff currently takes
                                    20         no position as to the validity of this alleged debt.
                                    21   19.   Subsequently, but before January 2011, the alleged debt was assigned, placed,
                                    22         or otherwise transferred, to Defendant for collection.
                                    23   20.   On or about January 2011, Defendant began calling Plaintiff’s relatives, third
                                    24         parties, as that phrase is anticipated by 15 U.S.C. §1692c(b), and disclosed
                                    25         information surrounding Plaintiff’s alleged debt. These calls were a
                                    26         “communication” as 15 U.S.C. §1692a(2) defines that term.
                                    27   21.   These communications to a third party were without prior consent, or the
                                    28         express permission of a court of competent jurisdiction, or as reasonably

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                                                                                         - 3 of 7 -
                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 4 of 7



                                     1         necessary to effectuate a post judgment judicial remedy, and was in
                                     2         connection with the collection of the alleged debt, and with a person other
                                     3         than Plaintiff, Plaintiff's attorney, a consumer reporting agency, the creditor,
                                     4         the attorney of the creditor, or the attorney of the debt collector.                       These
                                     5         communications to third parties was not provided for in 15 U.S.C. § 1692b.
                                     6         By making said communication to a third party, Defendant violated 15 U.S.C.
                                     7         § 1692c(b).
                                     8   22.   Defendant would also call third parties on more than one occasion.
                                     9   23.   Through this conduct, Defendant communicated with a person other than the
                                    10         consumer for the purported purpose of acquiring location information and
                                    11         communicated with said person more than once without the request to do so
                                    12         by such person and without reasonably believing that the earlier response by
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                                    13         said person was erroneous or incomplete and without reasonably believing
                 Phoenix, Arizona




                                    14         that such person now had correct or complete location information.
                                    15         Consequently, Defendant violated 15 U.S.C. § 1692b(3).
                                    16   24.   Upon learning that his personal business was being disclosed to third parties,
                                    17         Plaintiff called Defendant.
                                    18   25.   This communication to Plaintiff was a “communication” as that term is
                                    19         defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                    20         with 15 U.S.C. § 1692g(a).
                                    21   26.   During this phone conversation, Plaintiff requested that Defendant stop
                                    22         calling his family members. In response Defendant’s agents stated that they
                                    23         could call whoever they wanted to.
                                    24   27.   Through this conduct, Defendant used a false, deceptive, or misleading
                                    25         representation or means in connection with the collection of a debt.
                                    26         Consequently, Defendant violated 15 U.S.C. § 1692e and 15 U.S.C. §
                                    27         1692e(10).
                                    28

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                                                                                         - 4 of 7 -
                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 5 of 7



                                     1   28.   Through this conduct, Defendant threatened to take action that cannot legally
                                     2         be taken or that is not intended to be taken. Consequently, Defendant violated
                                     3         15 U.S.C. § 1692e(5).
                                     4   29.   During this conversation, Defendant’s agent Chris Bradley repeatedly called
                                     5         Plaintiff a “deadbeat,” and threatened to continue to disclose the debt to
                                     6         Plaintiff’s brothers.
                                     7   30.   Through this conduct, Defendant engaged in conduct the natural consequence
                                     8         of which was to harass, oppress, or abuse a person in connection with the
                                     9         collection of a debt. Consequently, Defendant violated 15 U.S.C. § 1692d.
                                    10   31.   Through this conduct, Defendant used obscene or profane language or
                                    11         language the natural consequence of which is to abuse the hearer or reader.
                                    12         Consequently, Defendant violated 15 U.S.C. § 1692d(2).
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                                    13   32.   Through this conduct, Defendant threatened to take action that cannot legally
                 Phoenix, Arizona




                                    14         be taken or that is not intended to be taken. Consequently, Defendant violated
                                    15         15 U.S.C. § 1692e(5).
                                    16   33.   Through this conduct, Defendant used an unfair or unconscionable means to
                                    17         collect or attempt to collect any debt. Consequently, Defendant violated 15
                                    18         U.S.C. § 1692f.
                                    19   34.   Plaintiff eventually ended the call.
                                    20   35.   During this same time period, Defendant called Plaintiff on at least two
                                    21         occasions leaving messages failing to identify their company or informing
                                    22         Plaintiff that they were attempting to collect a debt.
                                    23   36.   Through this conduct, Defendant placed a telephone call without meaningful
                                    24         disclosing of the caller’s identity.               Consequently, Defendant violated 15
                                    25         U.S.C. § 1692d(6).
                                    26   37.   Through this conduct, Defendant failed to disclose in subsequent
                                    27         communications that the communication was from a debt collector.
                                    28         Consequently, Defendant violated 15 U.S.C. § 1692e(11).

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                                                                                         - 5 of 7 -
                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 6 of 7



                                     1                                          CAUSES OF ACTION
                                     2                                                 COUNT I
                                     3                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                     4                                      15 U.S.C. §§ 1692 ET SEQ.
                                     5   38.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                     6         paragraphs.
                                     7   39.   The foregoing acts and omissions constitute numerous and multiple violations
                                     8         of the FDCPA, including but not limited to each and every one of the above-
                                     9         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                    10   40.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                    11         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                    12         an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
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                                    13         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                 Phoenix, Arizona




                                    14         Defendant.
                                    15                                         PRAYER FOR RELIEF
                                    16   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                    17   Plaintiff be awarded damages from Defendant, as follows:
                                    18         •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
                                    19         •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                    20                1692k(a)(2)(A);
                                    21         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                    22                to 15 U.S.C. § 1692k(a)(3).
                                    23   //
                                    24   //
                                    25   //
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                                                Case 2:11-cv-01377-DGC Document 1 Filed 07/12/11 Page 7 of 7



                                     1   41.   Pursuant to the seventh amendment to the Constitution of the United States of
                                     2         America, Plaintiff is entitled to, and demands, a trial by jury.
                                     3
                                     4   Respectfully submitted,
                                                                                                  Hyde & Swigart
                                     5
                                     6
                                         Date: July 12, 2011                                     By: /s/ David J. McGlothlin
                                     7
                                                                                                 David J. McGlothlin
                                     8                                                           Attorneys for Plaintiff
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                 Phoenix, Arizona




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